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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON AT SEATTLE

CHERYL BISHOP, No,
Plaintiff, COMPLAINT
Vv,
JEFF SESSIONS, ATTORNEY GENERAL,
DEPARTMENT OF JUSTICE, ALCOHOL,
TOBACCO, FIREARMS & EXPLOSIVES,

Defendants.

 

 

 

Plaintiff Cheryl Bishop alleges as follows:
L NATURE OF CASE

1.1 This is an action for damages, and declaratory and injunctive relief to remedy
racial harassment, discrimination, and retaliation that the government has and is committing
against ATF Supervisor Cheryl Bishop. She brings this action under Title VII of the Civil Ri ghts
Act of 1964.

IL. ADMINISTRATIVE EXHAUSTION

2.1 Plaintiff filed her formal individual complaint with the Defendant more than 180
days ago, which was assigned to an administrative judge of the EEOC for hearing. No hearing
has been scheduled. An appeal has not been filed and a final action has not been taken, so

Plaintiff has the right to file this civil action in court.!

 

' Plaintiff recently filed a formal EEO Complaint with Defendant alleging continued retaliation,
harassment, and discrimination that is closely related to the allegations in this lawsuit, but the
Agency refused to stipulate to consolidation of the two matters. Accordingly, once the

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Wi. JURISDICTION AND VENUE

3.1 This Court has subject matter jurisdiction over Plaintiff's claims under 28 U.S.C.
§ 1331 and 28 U.S.C. § 1343(a).

3.2 The Court has personal jurisdiction over Defendant within the Western District of
Washington.

3.3. Venue is proper in the Western District of Washington because a substantial part
of the events complained of occurred in this District, the Plaintiff resides in this District, and the
Plaintiff is assigned by Defendant to perform her duties for the Defendant in its offices located in
this District. See 28 U.S.C. § 1391,

IV. PARTIES

41 Plaintiff Cheryl Bishop is an individual residing in Seattle, WA. She is African-
American. Since July 2013, she was a Senior Special Agent (SA) Explosives Detection Canine
Handler, Bureau of ATF, until being promoted to Supervisor during the course of this litigation.

42 Defendant Jeff Sessions is the Attorney General of the United States, who is the
appropriate “head” of the Department of Justice and its constituent federal agency, Alcohol
Tobacco Firearms and Explosives (ATF) that employed Plaintiff, and therefore is the proper
Defendant in this action, under 42 U.S.C. § 2000e-16(c). Defendant is an employer within the
meaning of Title VI.

Vv. FACTS

5.1 On April 5, 2016, during a Seattle Field Division All-Hands Meeting, ATF
Deputy Director (DD) Ronald Turk publically praised then-Special Agent Cheryl Bishop for her
work as a Special Agent and as a canine handler and personally issued her a special memorabilia
Challenge Coin from the Department of Justice, Bureau of Alcohol, Tobacco, Firearms and

Explosives Office of the Deputy Director.

 

regulations permit Plaintiff to file a civil action on her supplemental allegations she will move to
add them to this civil action.

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5.2 After the all-hands meeting in Seattle, Agent Bishop asked DD Turk for advice
about the best avenue for her to contribute to the Agency while advancing her career. She told
DD Turk that she was age 52, but with her experience in ATF and in the private sector at
Amazon.com, she said she has a lot to offer the Agency before she reaches the mandatory
retirement age of $7. DD Turk responded that at that point in her career he recommended a one-
year detail in ATF Headquarters (HQ) to complete the requirement for HQ time prior to
promoting to grade GS15. DD Turk said she could even reach Senior Executive Service (SES)
pay grade. DD Turk stated he would inquire about what one-year detail opportunities were
available at HQ for her.

5.3. DD Turk did so. The next day, he wrote an email (dated April 7, 2016) to two of
his direct reports, Assistant Director (AD) Michael Gleysteen and Assistant Director (AD) Roger
Beasley, asking if they know of a place for her to perform an HQ detail. DD Turk wrote to them
that she was a “senior agent with some unique background looking fora TDY to HQ. She left
ATF for the private sector and eventually came back for good reasons... [Assistant Special
Agent in Charge] ASAC Nunez recommends her and said [Special Agent in Charge] SAC does
too.”

5.4 That same day, AD Gleysteen then sent an email to his subordinate, Assistant
Special Agent in Charge (ASAC) Charlie Patterson, who contacted his subordinate, Donald
Robinson, who contacted his subordinate, John Ryan (who oversees the Canine program
nationwide), asking about HQ opportunities for Agent Bishop and about her duty to the Canine
Division as a canine handler.

5.5 The next day, April 8, 2016, ASAC Patterson wrote to AD Gleysteen, “As it
stands SA Bishop has a two-year K9 commitment left, however Don and his staff are willing to
work with her in the event she was able to identify a TDY in HQ. Because she has been with her
partner for so long now, we would not recommend separating the two.” AD Gleysteen then sent
an email to AD Beasley, who had expressed an interest in hiring SA Bishop: “If you want to

reach out to this employee feel free. We will work out the K-9 issue on the backend if you select

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her.” AD Beasley wrote back: “So does that mean she would bring the K-9? Never thought
OST would have one but I do love dogs!” AD Gleysteen replied: “If you love dogs please
consider it yours!”

5.6 Acouple of weeks later, Agent Bishop spoke with Office of Science and
Technology (OST) AD Beasley, who offered Agent Bishop a one-year promotional detail to
work for him. In essence, her responsibilities would be to educate the OST about the needs and
practices of agents in the field and serve as a liaison between the OST and the operations side of
the Agency. After the conclusion of her promotional detail, Agent Bishop would return to
Seattle and resume her role as a canine handler with her canine “Allegra.” AD Beasley
explained to Agent Bishop that he had spoken with AD Gleysteen, who said he had looked into
her bringing her canine to OST for the promotional detail and that Gleysteen approved whatever
Beasley wanted and that she could bring her canine, Allegra, and maintain her ATF canine
certification for that year. Agent Bishop contemporaneously recorded these communications
from AD Beasley in an email that she wrote to her ASAC, Celinez Nunez, on April 22, 2016.

5.7 A few days later, on April 26 and April 29, AD Beasley and AD Gieysteen
exchanged emails, in which AD Gleysteen stated, “This TDY has our full support.” AD Beasley
confirmed via email that Agent Bishop’s SAC, Doug Dawson, “was very supportive” and he
planned for Agent Bishop to start her one year promotional detail to HQ “in July,” to which AD
Gleysteen replied: “Perfect!”

5.8 During this time, SAC Boxler of the Washington, D.C. Field Division learned that
Agent Bishop would be on detail in HQ. He then contacted AD Beasley and offered that
anytime SAC Boxler’s Washington Office had need of a detection canine that Agent Bishop was
welcome to participate.

5.9 During the week of April 25, 2016, while they were in San Diego, California, for
canine recertification testing, SAC John Ryan and Program Manager Chief Raphael Martinez—
both of the National Canine Division—told Agent Bishop they had heard about her temporary

one-year detail to HQ. They congratulated her, offered their support, and stated that while she

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was on detail at HQ she was welcome to come train with her canine Allegra anytime at the
national canine facility in Front Royal, Virginia. Agent Bishop thanked them, and told them that
she would be working for AD Beasley of the Office of Science and Technology. She also told
them that AD Beasley had explained to her that SAC Boxler offered that anytime the
Washington Office had need of a detection canine she-was welcome to participate. She told
them she was excited about the HQ detail, and that AD Beasley had said he was fuily supportive
of her assisting the Washington Field Division in D.C. with her canine whenever she wanted.
Ryan and Martinez expressed no reservations or concerns regarding what the detail entailed or
with her canine remaining in-service.

Racism Rears its Ugly Head

5.10 In late April 2016, as Agent Bishop was planning to leave Seattle for her one-year
detail in Washington D.C., Agent Bishop was asked to serve as an acting Group Supervisor in
the Eugene, Oregon ATF office substituting for Group Supervisor (GS) Brad Devlin—-who was
being considered for a promotion to ATF Internal Affairs. To sabotage Agent Bishop, GS
Devlin made damaging and disparaging remarks about her to the ATF agents she would be
supervising in Eugene and to Assistant United States Attorneys in Oregon who she needed to
work with to perform her job as Group Supervisor there. Devlin told them that Agent Bishop
lacked the professional qualifications needed and that she would be a “train wreck.” GS Devlin
has admitted under oath that he made these remarks about Agent Bishop.

5.11 This was only the most recent racial harassment and discrimination of Agent
Bishop, who is African-American, by GS Devlin, who is Caucasian, but it was the first
opportunity that GS Devlin had in quite some time to continue abusing her. During previous
years, GS Devlin had directly supervised Agent Bishop in Seattle. During that time, and from
2009 through 2012, GS Devlin repeatedly committed racial harassment and discrimination
against Agent Bishop, which the Agency ignored and failed to stop. For example:

5.11.1 On January 20, 2009, Agent Bishop raised a concern to GS Devlin that she

had not been given her bullet-proof vest. Ignoring her stated concern, GS Devlin assigned her to

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assist and cover a law enforcement operation thereby putting her life in danger without adequate
and required protective gear.

5.11.2 The next month, on February 19, 2009, GS Devlin sent an email explicitly
disparaging African-Americans regarding an African-American ASAC to a group of ATF agents,
including to SA Bishop and local law enforcement officers.

5.11.3 On the same day, GS Devlin arranged for a presentation to a new Special
Agent in Charge (SAC) about a Special Response ‘Team (SRT) warrant and operation. He
invited all ATF and Task Force Officers in the group to attend, but he excluded Agent Bishop.
All the other agents and task force officers in the group that he invited were white males (ATF
SA Ken Cooper, ATF SA Craig Howe, and ATF-King County Task Force Officer Mike Garske).
ATF Group Supervisor Douglas Krogh witnessed this. GS Devlin did not inform Agent Bishop
of the presentation. Instead, after sitting on a project of developing an operational plan until the
last minute, he then assigned SA Bishop to handle it during the presentation as an excuse so she
would be unavailable to attend.

5.11.4 GS Devlin sent multiple emails to ATF agents under his supervision,
including Agent Bishop, mocking African-Americans, including Barack Obama—while Obama
was Commander in Chief and President of the United States.

5.11.5 GS Devlin wears a large Nazi-SS tattoo on his shoulder that he claims to
have obtained for working undercover in a white supremacist gang several years ago. He has
declined to have it removed at ATF expense and showed it off publically to other ATF agents in
front of Agent Bishop while eying her with a grin.

5.11.6 Without provocation, when Agent Bishop asked GS Devlin a question
while in his office, GS Devlin walked up to Agent Bishop, yelled at her to her face, and raised
his fist towards her as if to hit her while refusing to answer her work-related question.

5.12 Agent Bishop reported GS Devlin’s racist conduct to her superiors, but they took
no action. In 2009, she reported them to GS Devlin’s supervisor, ASAC Robert Levingston, who

claimed he spoke to GS Devlin about the physical threat and to ASAC Charlie Smith and SAC

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Kelvin Crenshaw about GS Devlin’s display of his offensive white supremacist tattoo. But the
Agency did not investigate further, report the incidents, or take any action. During 2016, Agent
Bishop spoke more than once with ATF Budget Analyst (BA) Linda Gathercole about
Supervisor Devlin’s discriminatory and harassing behavior. Likewise, during and before 2016,
Agent Bishop spoke on more than one occasion with Division Operations Officer (DOO) Casey
Xiong about GS Devlin’s discriminatory and harassing behavior. And in several conversations
with ASAC Celinez Nunez, Agent Bishop had described the history and pattern of GS Devlin
committing incidents of racial harassment and discrimination.

5.13 Despite ATF’s knowledge that Group Supervisor Brad Devlin has engaged in
discriminatory behavior and racial harassment and brings racist attitudes to work, the Agency
repeatedly looked the other way.

5.14 In April 2016, a colleague in the Portland, Oregon ATF office, GS Colleen
Domenech, reported to Agent Bishop that GS Devlin was sabotaging her to other agents and the
U.S. Attorneys. In response, Agent Bishop emailed GS Devlin asking him to stop. In response,
he claimed to “have no idea what you are talking about” and that he has “not disparaged you to
anyone.” But he admitted that he had expressed his opinion of her, when asked by others.

5.15 Deeply troubled that GS Devlin was undermining her reputation and authority
within the agency and to the U.S. Attorney’s Office where she would be stationed, Agent Bishop
told her superior, ASAC Nunez, about GS Devlin’s misconduct. And, on April 21, 2016, Agent
Bishop forwarded to ASAC Nunez her email exchanges with GS Devlin. That same day, ASAC
Nunez forwarded the emails to SAC Dawson and discussed the issue with him because, Nunez
wrote, “I will need to address it.”

5.16 On May 2, 2016, Agent Bishop again met with ASAC Nunez. ASAC Nunez told
Agent Bishop that she had a “candid” conversation with Group Supervisor Devlin about his
recent disparaging comments about Agent Bishop. But ASAC Nunez made no mention of the
ATE investigating or disciplining him for his misconduct, or taking any action at all. ASAC

Nunez asked Agent Bishop, “would it make you feel better if 1 wrote a letter for his file?”

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ASAC Nunez said, “You know, he will probably just wipe his ass with it.” ASAC Nunez said
that if Agent Bishop “felt strongly about it” and “if it would make you feel better” to have ASAC
Nunez put something in Devlin’s file then Agent Bishop was welcome to send ASAC Nunez
something in writing and include any relevant documents. ASAC Nunez told Agent Bishop that
it was “too bad previous managers did not handle the situation” with Devlin.

5.17 In response, the following day, in a memorandum dated May 3, 2016, Agent
Bishop reported to her ATF Seattle Field Division Management, ASAC Celinez Nunez and SAC
Douglas Dawson, that ATF Group Supervisor Brad Devlin had racially harassed and
discriminated against her. Exhibit A is a true copy of her May 3, 2016 memo.

5.18 The next day, May 4, 2016, Agent Bishop saw SAC Dawson standing outside the
door of his office. She asked to speak with him to discuss her complaint memo dated May 3,
2016, so that he could hear directly from her why she had written it. SAC Dawson invited Agent
Bishop into his office and they talked about her concerns and the incidents reported in her memo.
It was apparent from his behavior and remarks that SAC Dawson was familiar with the contents
of her memo. Agent Bishop talked to SAC Dawson about incidents outlined in her memo and
how emotionally painful and tiring it had been for her dealing with Devlin’s abusive behavior
over the years and that ATF never took action to stop it. She told SAC Dawson that the latest
incidents in which Devlin had been harassing her was completely unprofessional, and that he had
not only defamed and bad-mouthed her inside the Agency but also had inflicted harm by
defaming her to others outside the agency, which might interfere with her ability to perform her
job effectively. SAC Dawson said he agreed that Devlin had probably harmed her professional
reputation. SAC Dawson then told her that he was the class coordinator when Devlin was a new
hire at the academy. SAC Dawson told her that Devlin “had issues” even then and stated
“Devlin has always been a separatist” racially.

5.19 Onor about May 5, 2016, Agent Bishop was speaking with ASAC Nunez just
outside the door of ASAC Nunez’s office about Bishop’s May 3, 2016 complaint memo. ASAC

Nunez said that SAC Dawson had told her, “Devlin does not like black people.”

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5,20 The next day, May 6, 2016, ASAC Nunez and SAC Dawson spoke to GS Devlin,
who confirmed that he wears a “German Eagle SS lightning bolt tattoo” that he received to work
undercover with a white supremacist organization.

The HQ Premotiona! Detail

5.21 Meanwhile, Office of Science and Technology (OST) continued to prepare for
Agent Bishop’s arrival at HQ, with her canine. OST Program Manager Thomas Stewart wrote
her an email dated May 26, 2016 asking “What training requirements will you need to meet
during your detail to HQ” and whether “there are any training requirements for your canine
duties? I know there are periodic recertifications, as our Lab is often involved in these.”

5.22 That same day, Agent Bishop responded via email, “I have been in touch with the
Chief of National Canine Division in Front Royal. They offer several opportunities for RECERT
testing during a FY-including at Front Royal-so next year[”]s RECERT will not be a problem.”
She explained that she would be traveling in her “K9 GOV” with her “K9 equipment.” Agent
Bishop cc’d her immediate supervisor in Seattle, and her ASAC, Celinez Nunez, on her message.

5.23 A few days later, ATF OST sent a Memorandum of Understanding (MOU)
describing Agent Bishop’s one-year promotional detail to HQ, including that she would be paid
as a GS-14~-—a temporary promotion to supervisor status from her GS-13 status as a canine
handler, OST Chief Thomas Hill signed the MOU, and the Agency forwarded it via email by
OST Program Manager Tom Stewart to Agent Bishop who signed and returned the MOU to HQ.
Exhibit B is a true copy of the signed MOU.

5.24 Onor about June 9, 2016, National Canine Division Program Manager Raphael
Martinez called Agent Bishop and told her that the Agency had decided that she cannot take her
canine on her approved promotional detail with OST in HQ so must permanently retire Allegra.
Shocked, Agent Bishop asked why the Agency had changed its mind after approving her taking

her canine. But Martinez did not explain; he just said the order came from Headquarters.

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5.25 Inresponse, Agent Bishop notified ASAC Nunez of what Chief Martinez had told
her. ASAC Nunez replied that the new decision that she could not bring Allegra was contrary to
what had been agreed. ASAC Nunez said she would look into what had happened.

5.26 A few days later, on June 14, 2016, ASAC Nunez told Agent Bishop that
according to SAC Dawson: if Agent Bishop went on the HQ detail, the Agency would retire
Allegra so upon finishing her promotional detail, Agent Bishop would then have to start over by
repeating the sixteen-week K9 course and signing a new 5-year K9 commitment agreement
through her retirement. This would prevent Agent Bishop from advancing in her career.

5.27 The following day, June 15, 2016, ASAC Nunez wrote an email directly to SAC
Dawson about “HQ’s decision not to allow K9 Allegra to go on a one year TDY and remain in
service.... I did not think this would be an issue, especially when she was told from the
inception of this TDY proposal that she could keep K9 Allegra in service. [I]n light of this being
the 11" hour of this news, I think we owe it to SACH Bishop to make some concessions to this
new rule.”

5.28 A day later, June 16, 2016, ASAC Nunez told Agent Bishop that SAC Dawson
and AD Gleysteen had denied all requests for concessions to the new conditions imposed on her
promotional detail.

5.29 Later that week, on June 19, 2017, ASAC Nunez sent a text message to Agent
Bishop stating that SAC Dawson had added an additional condition to her detail: upon returning
from HQ she would have to relocate to Portland, Oregon. This would require Agent Bishop to
have frequent interaction with GS Devlin, and to face the prospect of him periodically
supervising her.

5.30 A few days later, Agent Bishop called AD Beasley and explained the new
conditions that the Agency was imposing on her if she went on the HQ detail in his office. AD
Beasley expressed great surprise at this news. He stated that the Canine Division, AD Gleysteen,
SAC Dawson, and others had all been supportive of her maintaining her canine during the

promotional detail so the decision that she could not bring Allegra “does not make any sense.”

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He said the new conditions were not what was agreed to, and that he would confer with AD
Gleysteen.

5.31 On June 29, 2016, after a call from ASAC Nunez stating that SAC Dawson needs
an answer to whether she is moving forward with the promotional detail in light of the new
conditions, Agent Bishop emailed AD Beasley asking if he had conferred with AD Gleysteen.
AD Beasley responded that he had, and that AD Gleysteen had said he promised to look into the
issuc.

5.32 That same day, ASAC Nunez called back and stated that AD Gleysteen and SAC
Dawson insisted Agent Bishop decide immediately. Accordingly, the following day, June 30,
2016, Agent Bishop notified AD Beasley via email that under the circumstances she had decided
against taking the HQ detail in his office.

5.33 The Agency’s asserted non-discriminatory and retaliatory reason for undermining
Agent Bishop’s promotional detail has changed several times. ASAC Nunez first told Agent
Bishop that ATF management did not want “Lazy Canine Handlers to go on details thinking that
they could collect per diem. But, I’m not talking about you,” or words to that effect. ASAC
Nunez later told Agent Bishop that the Agency “does not want to set a precedent,” or words to
that effect. Finally, in yet another conversation, ASAC Nunez told Agent Bishop that it “is
impossible to do both because the dog must work,” or words to that effect.

5.34 During litigation before the EEOC, the Agency settled on the last of its
explanations, asserting that managing a canine for the ATF is a full-time job so it would have
been impossible for Agent Bishop to maintain her canine at operational proficiency while
working for OST at Headquarters.

5.35 The Agency’s assertion is not true.

5.36 ATF has no policies, procedures, memoranda, reports, training materials,
PowerPoint presentations, or any other documentation that reflects the Agency’s assertion.

5,37 The Agency’s position is likewise undermined by its decision to knowingly assign

a white canine handler who had no history of protected EEO activity, Agent Scott Dvorak, to

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serve as the Special Agent On the Job Training (OJT) Instructor to new Special Agents, while
maintaining his canine as a canine handler. The OJT’s responsibilities include training new
agents hired by ATF, which the Agency admits takes an average of “6-8 hours a day, depending
on the workflow of the office.” Thus, the Agency has admitted that it assigned to comparator
Dvorak, who is white and has not engaged in protected activity, a full time job as OJT while
allowing him to maintain his canine certification and work his canine as a canine handler, which
the Agency asserts is a full-time job. In contrast, only weeks after she engaged in protective
activity, the Agency refused to allow African-American Agent Bishop to maintain her canine
certification and work her canine as a canine handler while performing promotional detail on the
purported ground that canine handling is a full time job so she cannot do both.

5.38 Until she made her May 3, 2016 complaint of race harassment and discrimination,
Agent Bishop likewise had been assigned to perform other jobs while serving as a Canine
Handler. While being employed as a canine handler for ATF, the Agency repeatedly assigned
Agent Bishop to perform long-term duties that took considerable portions of her daily time at
work other than maintaining her canine, who she always found time to train daily, For example,
while serving as a canine handler, Agent Bishop was also assigned to serve as the Public
Information Officer (PIO). The PIO is responsible for handling all public and press inquiries,
publicizing the Seattle Office’s work, and handling communications with Headquarters and other
ATE offices. That role can take several hours to perform in a single day.

539 Likewise, while serving as a canine handler, Agent Bishop served as an acting
Group Supervisor—such as she did in Eugene, Oregon. She was assigned this role on multiple
occasions for several months at a time. This role, too, often takes many hours in the day—during
which she was not free to train her canine. |

5.40 Similarly, Agent Bishop frequently has spent many hours each day working in her
core function as a special agent, as a criminal investigator. During such times, she was not

working with or training her canine.

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5.41 At the time that Agent Bishop filed her May 3, 2016 discrimination, harassment,

 

and retaliation complaint against GS Devlin, oe B owed GS Devlin a personal favor.

 

The favor arose because Me's immediate family was being affected by drug-related

  

criminal activity that zee wanted to stop, for personal reasons. As a result,
a supplied information about the drug activity to GS Devlin. Although drug trafficking is
not within the mission of the ATF, as an ATF Supervisor Devlin obtained a warrant to

investigate the activities of the drug dealer disrupting them to help : ae ' : ee personally.

 

5.42 Defendant failed to remedy and prevent the racial harassment that Agent Bishop
was and is subjected to in her workplace. And Defendant discriminated and retaliated against
her for reporting that harassment, altering the terms and conditions of her promotional detail.
Completing an assignment at ATF HQ is a requirement for promoting to grade GS15.
Defendant’s conduct illegally interfered with Agent Bishop fulfilling that requirement causing
her harm. And, Defendant’s conduct illegally proximately caused her other financial harm and
emotional distress.

VI. CLAIMS

6.1 By his acts described above, Defendant violated Title VIE of the Civil Rights Act
of 1964, 42 U.S.C. §2000¢, ef seg., as amended and related regulatory provisions, through illegal
harassment, discrimination, and retaliation causing harm and damages to Plaintiff.

VI. INJUNCTION ALLEGATIONS

7.1. Defendant has continued failure to take prompt and remedial measures to stop
ATF employees from harassing, discriminating against, and retaliating against Plaintiff, An
injunction from this Court is necessary to enforce her rights under Title VII to be free of such

mistreatment as an employee of the United States government.

VII. REQUEST FOR RELIEF
WHEREFORE Plaintiff requests that the Court enter judgment and other relief against

Defendants awarding Plaintiff:

COMPLAINT - 13 MaCDONALD HOAGUE & BAYLESS

705 Second Avenue, Suite 1500
Seattle, Washington 98104
Tel 206.622.1604 Fax 206.343.3961
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Declaratory and injunctive relief;

Economic and general damages;

The tax consequences of any award;

Reasonable attorney fees and costs;

Pre-judgment and post-judgment interest;

The right to conform the pleadings to the evidence presented at trial; and

All other relief deemed just and fair.

DATED this 24" day of April, 2018.

COMPLAINT - 14

14256.01 1d241101

MacDONALD HOAGUE & BAYLESS

ing, WSB 775
Jess, W@MBB. m
At rieys for Plaintiff

 
 

MACDONALD HOAGUE & BAYLESS
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Seattle, Washington 98104
Tel 206.622.1604 Fax 206.343.3961

 
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Cheryl Bishop v. Jeff Sessions

EXHIBIT A

Cheryl Bishop v. Jeff Sessions

 
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U.S. Department of Justice =
Bureau of Alcohol, Tobacco, x
Firearms and Explosives z
Seattle Fleid Division F
www.atf. gov
May 3, 2016
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CDB
MEMORANDUM TO: Special Agent in Charge . i
Seattle Field Division ™

THROUGH: Assistant Special Agent in Charge
Seattle Field Division

FROM: Cheryl D. Bishop
Seattle Group IV ©

SUBJECT: Complaint of Workplace Harassment and Character Defamation

As outlined in ATF O 2130.3, this is submitted ta report my concerns regarding a pattem of

workplace harassment, intinitdation and personal character defamation by ATF Supervisor Brad
Deviin.

BACKGROUND

in 2005, I was assigned to Seattle Group V (Gang Group) it the Seattle Field Division. GS
Devlin was the Supervisor of the growp, At that time, I was the only minority person of color
assigned and working in the group. During this time, GS Devlin sent emails to the Group Y¥
mailbox containing references that made fun of ethnic minority groups, predominately African
Americans - to include President Barack Obama (see attached emaif examples), As the only
ethnic minority in the group, [believe GS Devlin was attempting to harass and intimidate ms and
create a hostile work environment to induce me to leave the group. This is uzy belief because %
puior to being assigned to.Group V - I was told by Supervisory Special Agent Doug Krogh
(retired) that GS Devlin did not want me in Group Y and did not partiovlarty care for people of
color, NOTE* I believe an investigative retrieval of emails during the referenced time period
Twas assigned to Seaitie Group V, as well as time frames inmediately preceding my transfer.
fo the group and then following my transfer out, would reveal additional correspendence and
communications by GS Devlin relevant to my claim of disparaging commentary foward ethnic
minorities and intentional actions of harassment.

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On December 11, 2009, and while assigned to Seaitle Group V under GS Devlin; an incident
ocenmed during which I perceived GS Deviin presented a physical threat of violence against me,
Timmediately verbally reported the incident to GS Devlin’s Supervisor ~ ASAC Robert
Levingston (retired) and followed up with a written email (see attached email te ASAC
Levingston dated 12/13/09). The following week ASAC Levingston verbally told me that be
had spoken to GS Devlin about the incident. However, ASAC Levingston did not elaborate and
gave no further details regarding his conversation with GS Daviin. Soon after this incident, SAC
Kelvin Crenshaw (retired) requested I wansfer out of Group V and assume duties as the PIO for
the Seattle Division. Within a short time frame, GS Devlin received a previously reqnested and
desired PCS to become a RAC in the Portland, Oregon field office. To my knowledge, the
reported imcidents of threatened physical violence, intimidation and harassment that occurred in
2009 were never reported or forwarded by ASAC Levingston to IAD or OPRSO.

in Febmary, 2011 —a retirement function and gathering was held for ASAC Levingston in
Seattle. At this event | observed RAC Deviin roll up the sleeve of his shirt and display a large
Nazi swastika tattooed on bis shoulder. I was standing a few feet away as RAC Devlin displayed
the tattoo to Supervisor Michael Graham (formerly RAC in Anchorage Alaska) and a white
female (I recall as being either Jodi Doane or Christic Goldsmith) from the Portland Field Office.
As RAC Devlin was displaying the tattoo he looked over at me, made eye contact, tumed back to
the others — said something, laughed and then rolled down his sleeve.

The next day I spoke with former ASAC Charlie Smith and SAC Kelvin Crenshaw (retired)
about RAC Devlin’s display of the swastika tattoo. Itold the ASAC and SAC that it was
upsetting seeing a symbol of hate displayed like that by an ATF agent and that I found it not only
offensive and disturbing but that it seemed highly inappropriate it was displayed in such a
manner and place, ASAC Smith and SAC Crenshaw said they agreed and that ASAC Smith
would speak with Devlin about it, ASAC Smith later told me that he had spoken with Devlin
about the tattoo and that Devlin told him he got it for undercover work and that the undercover
branch would not pay to have it removed. ASAC Smith further stated he (Smith) later contacted
fie undercover branch who advised the ASAC that their policy is that if a tattoo was obtained by
an agent in furtherance of undercover work then they (undercover branch) would pay to have the
tattoo removed. ASAC Smith said he advised RAC Devlin that the undercover branch would
pay to have the tattoo removed. [have no knowledge if RAC Devlin stil! has the tattoo or if
there were any further discussions about it,

RECENT INCIDENT .
On April 21", 2016, I was told by RAC Colleen Domenech (Portland Field Office) that RAC

. Deyiin (now of the Eugene Field Office) had heard f was interested and/or applying for the

upcoming RAC vacancy in Eugene and that RAC Pevlin had heen telling people I was
nuqualified to be a supervisor and that in Devlin’s opinion I would be a “train wreck” for the
Bugene Office. RAC Domenech further told me that RAC Deviin had been making disparaging
comments about ais and my qualifications to people both insids and outside of the agency.

On this same date, I sent’an email to RAC Devlin aeking hin abont the allegation that he had

been making disparaging comments. RAC Devlin responded in an email that be did not know
what I was talking about and that he bad been asked by an AUSA about me and had told the

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AUSA I “lacked street experience”, RAC Devlin further replied that I may not agree but that
was his opinion and he did not cars what I thought. I replied to RAC Devlin that he did not
know anything about me and that I had been working complex street investigations and ‘T-Ils
(including the first multi-tefendant T-Ot RICO initiated in Washington Stats) well before he was
hired by the agency (see attached emails).

Tn summation; this is respectfully summited to summarize what T believe has been a long
standing pattern of workplace harassment and character defamation perpetrated against me by
Supervisor Brad Deviin. [believe the workplace harassment and attacks by Supervisor Devlin
have been detrimental and damaging to me both professionally and personally, By submitting
this information I hope that an investigation will be conducted into the totality and historical
pattern of Supervisor Devlin’s behavior and actions in accordance with ATF O 21303 and
applicable Bureau policies, standards of professional conduct, bebavior and Pederal laws.

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Cheryl Bishop v. Jeff Sessions

EXHIBIT B

Cheryl Bishop v. Jeff Sessions
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MEMORANDUM OF UNDERSTANDING
Extended Temporary Duty Assignment
Cheryl Bishop»
July 10, 2016 through Tuly 8, 2017

‘Fhis memorandum sets forth the agreement between Cheryl Bishop, herein referred to as the
“Employés,” and the Resource Management Steff (RMS) is the Office of Science and
Technology, regarding the employee's extended tempotary duty {TDY) assignment as NTB-1
year detail TDY as GS-181 1-14fProetam Manager.

Definitions

*

Gaining Supervisor — the gupervisor to whom the Employer wil report while on extended TDY.
Original Field Division Office — the office froin which the Employes is curently aésigued.

Receiving Office ~the office to which the Employee will be working ot az extended TDY
assignment.

Temporary Duty Location ~ fhe city and State where the Employee will bs working while on the
extended TDY.

Horian Resource Information

Hifectivé Date and Termination Date. The effective date of the extended TDY assignment is
July 10, 2016, for a period of 363 days (not to exceed 364 days), The termination date of fhe
exterided TDY. assignment is July $, 2017. The Eriployee continnes to bs assigned as Special
Agent ta the Seattle Group TV-Intelligence, Seattle Field Division. During this extended TOY
assifnment, the following terms and conditions shalt apply:

Location. The Employee will work in the receiving office, Resource Management Steif, Office
of Science aid Technology at 99 New York Avenue, NE, Washington, D.C., a5 a temporery
duty station on an extended temporary assignmnent,.

Continmed Employment. The Employee shall contine fo be employed by the Seattle Field
Division with no break in Federal service. During the period of this extended TDY sssigument,
the Exmployee's time and attendance records will be keyed into the payroll system by the
Employee and approved by the gaining supervisor. Any requests for leave by the Employee are
subject to the apprrval of the paining supervisor. At the conclusion of this extended FDY
assignment, the Employee shall retum full-time to bis/her position as a GIS 14 Special Agent in
the Seattle Group TV-Intelligeice Office, Seattle Division.

Salary. The Seattle Field Division will continue to pay the Employee's salary and benefits for
the duration af this extended TDY assigament, There Will be no change in the locality pay mite
as aresuit ofthe extended TDY assignaient, Any awards recommended by the RMS/OST for
the Employes's pecformancs as Program Manager, RMS/OST, will be paid for by RMS/OST.

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Performance Appraisal. For the duration of the extended TDY assigament, RMS/OST will
prepare the Employee's perfbrmance appraisals. The RMS/OST will provide the Employee with
a close out rating within 30 days of the completion of the extended TDY assignment.

Personnel Records, During this assignmunt, the Ernginyee’s drop file will remain with original
office. The Seattle Gronp IV-Intulligence Office will be responsible for processing all personnel
and payroll actions during the extended TDY assignment period. :

Training, The RMS/OST is responsible for ensuring that regular training to riaintain
readiness/qualifications by the Employee is scheduled. ‘The RIMS/OST is responsible for paying

for any additional training that may be necessary while the Employee is on the extended TDY
assipmmient,

Travel Related Information

Per Diem. In accordance with U.S, Department of Justice and othar Federal travel regulations,
ATP has established the following per diem rates:

Lodging. Lodging expenses will be reimbursed at actual costs incurred, not to exceed the
maximum locality per diem rate in effect as prescribed by the General Servives
Achministration for lodging. Lodging at a facility contracted with ths government will be
procured through the Financial Management Division. Lodging will be direct billed to
fhe government so receipts for lodging are not required to be submitted.

Meals and Incidental Expenses. Meals and Incidental Expenses (M&IE) will be

100 percent for the first 30 days, every day over fhe initial 30 days the Mé& IB will be
redneed to 75 percent of the applicable M&IE rate as prescribed by the General Services
Administration. No M&TE will be paid when the Employes is on personal or official
travel to bis home district for home visitation ivel or when annual Teave is taken. M&lE
will be paid when the Employee is on sick leave and remains at the tempoxary duty
station. When the Eomploybe travels on official business for OST, M&IE will be paid by
RMS at the standard M&iE rate of the city where the travel tekes place, unless the tity is
bis official duty station in his home district. Travel pa official business for the Seatile
Group [V-Intelligence will be paid by Seattle Field Division.

Local Transportation. Employee should request reimbursement through the Public
Transportation Incentive Program (PTIP).to cover any lecal transportation costs.
Reimbursement for any iocel transportation costs, up to $100, before the PIF benefits are
received, will be noted on the travel voucher and no receipts are required.

Personal Long Distance Telephone Calls. In accordance with A‘FF travel policy, reimbursable
long distance calls must be made to the Employee's residences or to the location of the spouse,
family mensber, or roommate, if that person is not at the Employse’s home at the time the cell is
placed.

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The employee should utilize their governmentissned cell phone to make their pers onal long
distance calls as outlined above. ¥€ this is not feasible, the Employee shall use a sovernmient-
issued calling card to place personal calls, if the employee has ont assigned. However, ifa
govermment-issued cell phone or calling card is not used, personal calls are limited to actual
expenses not to exceed 55 per day and a phone bill/receipt must be provided monthly for
retmbtrsement.

Laundry, Employees on an extended TDY assignment may be authorized laundry and/or dry
cleating not to exceed $25 per month for lanadering of professional attire. Dry cleaning must be
done at the TDY location, and receipts are required when claiming reimbursement of dry
cleaning. Where laendry facilities are provided at ne cost to the travelét, reimbursement is not
necessary and therefore may not be autherized,

ATM Fees. Employees on an extended TDY assignment may be authorized reimbursement of
ATM fees not to exceed $8 per month.

Internet Charges. When Internet connectivity is provi ded or included in the monthly long-term
rental fees, or available from an ATF facility, reimbursement will not be authorized.

Parking Fees, Parking expenses will be reimbursed if they are guthorized in advance of travel,
Receipts are required for reimbursement of parking expenses repardiess of the amount.

No other travel allowances are authorized for this extended TDY asstgument except as discussed
elsewhere in this MOU.

Recelpt Requirements. Receipts for dry cleaning and other items are required in accordance
with ATF Travel Order 1540.1.

Residence, The Employee must sign the cerlification at the bottom of the signature page
indicating that he intends to maintain his/her personal abodé in a real and substantial sense
during the extended TDY assignment. The Employee understaiids that it is his/her responsibility
to notify FMS-ISB if, at any point during the extended TDY assignment, the personal residence
is no longer mainteined, ox has changed in a substantial manner ta reduce living expenses, sO that
the monthly per diem reimbursement can be reassessed and reduced. The Employee should
notify FMS-ISB before this occurs fo establish the new reduced lodging rate and to ensure
continued compliance with the Employee’s residency obligation,

Rettum Trips Home. The Employes may be authorized by RMS/OST to return home based on
a determination that the return trip is advantageous to ths Government. Return tips will be
lirnited fo one per quarter and require approval by the Assistant Director of Science &
‘Technology. Only round trip transportation costs will be reabursed,

Travel Voucher Submission. All extended TDY travel vouchers will be forwarded to the
Employee's approving official for review and signature in actordance with ATF Travel Order
1540.1 and subseatently forwarded to the Travel ind Relocation Branch, Financial Management
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Termination. This agreement miay be terminated by any party upon 30 days weitten notice to
the other parties, Ifthe RMS/O8T terminates this agreament early, the RMS/OST will be
responsible for all costs associated with early termination of the Employee's lease. Ifthe

Employee temminates this agreement, the Employes will be responsible for all costs associated
with early termination of the lease.

Taxability. It i the general policy of ATF that extended TDY assignments are not extended
beyond 364 days, If this extended TDY assigument exceeds 1 year, or at the point it is known
that the extended TDY asstpnment will exceed 1 year, lodging and M&IE
payments/reimbursement will become subject to Federal, State, and local withholding, inchuding
FICA and Medicare, It is incumbent upon the ATF to advise the Employee when withholdings
may be subject to taxation. ATF will then advise ATF officials to withhold taxes subject to
current regulations. The Employee understands that it ix hisfher responsibility to maintain an
accurate record of days spent at the extended TDY essignment location to facilitate the
calculation of the 364-day period. Please note that the Travel and Transportation Reform Act of
1998, Pub. L. No. 105-264 amends Chapter 57 of Title 5 of the U.S.C, to provide for
relmbursement of Federal, State, and local income taxes incurred hy employees for any travel or
transportation teimbuysement, Ali payments of travel expenses (lodging and M&IR) subject to
income taxes are reimbursed. (These provisions only take effect when it is known that the
exténded TDY assignment will exceed a | year period.}

After 6 months, the Employee may incur Mcome tax Hability by the jurisdiction of residence at
the extended TDY location, It is incambent upon the Employse to check the spectfic State and
focal tax Jaws of the jurisdiction of residence at the temporary duty focation. The jurisdiction of
the Employce’s penmanent residence may allow credits for taxes paid to the jurisdiction of the
extended TOY assignment.

Other. The written Travel Authorization — Extended Temporary Duty Assignient (ATF Form
1520.15) will be issued by the receiving office upon receipt of the completed and signed
Memorandum of Understanding.

Copies of the Travel Authorization and the completed and signed Memorandom of
Understanding will be provided to the Employee; the original division office; the Directorate’s
receiving office; the Travel and Relocation Branch and Finanoe Branch, Financial Management
Division, Office of Management.

Notification. No deviation from this Memormdum of Understanding shall be authorized
without the express written approval of the parties signed hereto.

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APPROVAES

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Employes . _ Approving Official, Receiving Office
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pproving Offthd, Original Pield Division Office

DATE: 42 Lie

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Chief, Financial Officer ‘

DATE:

CERTIFICATION

Tunderstand that I have en obligation to maintain my personal residence during the course of this
extended TDY assignment. I hereby certify that I do intend to maintain my personal residence at
my official duty station during this extended TDY assignment. Ifat some potat daring the
extended ‘TDY assignment, I plan to no longer mainizin my personal residence af my official
duty station orto change it in a substantial mamer so as fo reduce living expense, L will notify
Resource Management StaffOST before this occurs.

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Employee : : ‘

DATE: ffs &

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